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                                                U.S. I)epartrnent of Justice



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                                                District o/Aew JL’rsel


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                                                March 27,            2009



Via Electronic and Regular Mail

Hon. Peter C. Sheridan, U.S.D.J
United States District Court
Clarkson S. Fisher Federal Courthouse
402 E. State Street
Trenton, New Jersey 08608


                                                                                          313
          Re:         United States v. Dalnave Navigation et al.
                      Crim. No. 09-130 (PGS)


Dear Judge Sheridan:

     As Your Honor is aware, pursuant to an Order by the
Honorable Jose L. Linares, U.S.D.J., the parties to the above-
captioned action are required to take seven (7) depositions of
material witnesses between April 1, 2009 and April 15, 2009.
Although Your Honor previously indicated that Your Honor would
not preside over these depositions, the United States writes to
respectfully request that a Magistrate Judge instead be appointed
to do so.

     A Magistrate Judge presiding over the depositions will
ensure full compliance with Judge Linares’s order.  Furthermore,
the appointment of a Magistrate Judge will ensure that order is
maintained during the proceedings, that the proceedings move
forward in a timely manner, and that the record of objections is
adequately developed.
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